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                     IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,                   ) Case No. 3:19-cr-00038-SLG
                                              )
                          Plaintiff,          )
                                              )
         v.                                   ) GOVERNMENT SENTENCING
                                              ) MEMORANDUM
  LEE JOHN SCRENOCK,                          )
                                              )
                          Defendant.          )
                                              )


       COMES NOW the United States of America, by and through undersigned counsel,

and hereby files this Sentencing Memorandum. For the reasons stated herein, the United

States joins the sentencing recommendation of United States Probation and respectfully

asks the Court to impose the recommended sentence along with the additional conditions

stipulated in the plea agreement; a letter of apology; restitution payable to the Indian Arts

and Crafts Board; and a special condition of probation prohibiting Mr. Screnock from



         Case 3:19-cr-00038-SLG Document 45 Filed 03/03/21 Page 1 of 7
dealing in wildlife products during any term of supervised release or probation imposed

by the court in this matter. ECF 21.

I.      INTRODUCTION AND FACTUAL BACKGROUND

        For many years, Mr. Screnock owned and operated the gift shop “Arctic

Treasures” on Fourth Avenue in Anchorage, Alaska, as depicted below.




        Agents of the United States Fish and Wildlife Service (USFWS) became aware of

Mr. Screnock’s unlawful activities as early as 2015, when he violated the Marine

Mammal Protection Act (MMPA) as charged in count two of the indictment by

unlawfully selling an undercover FWS special agent a polar bear skull on October 26,

2015.




                                       Page 2 of 7               Govt. Sent. Memo.
                                                           United States v. Screnock
          Case 3:19-cr-00038-SLG Document 45 Filed 03/03/21 Page3:19-cr-00038-SLG
                                                                    2 of 7
       Beginning at a time unknown but no later than 2017, Mr. Screnock began

producing ivory carvings for sale in his store. He labeled many of those carvings as

having been produced by an Alaska Native artisan named "Savuk." In truth and in fact

there was no Native Alaskan artisan named "Savuk," and the Defendant knew that he was

offering for sale the carvings in a manner that falsely suggested that the goods were

Indian produced, or an Indian product, or product of a particular Indian or Indian tribe or

Indian arts and crafts organization resident within the United States when he had in fact

carved the items himself, knowing that he was not a member of any Federally recognized

Indian tribe.

       In December of 2017, undercover FWS Agents purchased two carvings produced

by the Defendant and etched with the "Savuk" name. The agents asked the Defendant if

the purported artisan "Savuk" was Native Alaskan, to which the Defendant answered

"yeah, yeah, from Point Hope." Uniformed Fish and Wildlife Inspectors then visited the

Defendant at his business in February of 2018, and explicitly advised the Defendant of

the Federal law relating to the sale of Indian Arts and Crafts.

       In March 2018, undercover FWS agents again visited the Defendant at his

business, at which time the Defendant again sold items bearing the false "Savuk" name,

and represented that those items had been carved by an Alaska Native artisan from Point

Hope when he knew that he had carved the items himself, and knowing that he had no

affiliation with any federally recognized Indian tribe, and knowing that Federal law

prohibited such sale. In June of 2018 agents of the United States Fish and Wildlife

Service executed a search warrant at the Defendant's place of business, seizing over 450
                                         Page 3 of 7            Govt. Sent. Memo.
                                                          United States v. Screnock
         Case 3:19-cr-00038-SLG Document 45 Filed 03/03/21 Page3:19-cr-00038-SLG
                                                                   3 of 7
items produced by the Defendant and etched with the "Savuk" name to falsely suggest

that the goods were Indian produced when offered and displayed for sale. The hundreds

of seized items, some of which are depicted below, had a retail value exceeding

$125,000.




II.      SENTENCING CALCULATION

            a. Statutory Maximum Sentence

         The penalties for Count 1: 18 U.S.C. § 1159(a) (Misrepresentation of Indian

Produced Goods and Products) are as follows; imprisonment for not more than five years;

a fine not exceeding $250,000; and a period of supervised release not exceeding three

years.

         The penalties for Count 2: 16 U.S.C. § 1372, 1375 (Marine Mammal Protection

Act) are imprisonment for not more than one year, and a fine not exceeding $100,000, per

18 USC 3571.

                                         Page 4 of 7              Govt. Sent. Memo.
                                                            United States v. Screnock
           Case 3:19-cr-00038-SLG Document 45 Filed 03/03/21 Page3:19-cr-00038-SLG
                                                                     4 of 7
          b. Sentencing Guidelines Calculation

       The Probation Officer correctly calculated the total offense level as 12. ECF 31

(PSR) ¶ 32.

          c. The Probation Officer’s Recommended Sentence

       The Probation Officer recommends concurrent five-year and one-year terms of

probation for counts one and two, respectively; a $1,500 fine for count one and a $1,000

fine for count two; and a $100 and $25 special assessment respectively. Probation further

recommends special conditions of probation requiring 400 hours of community work

service and a six-month term of home incarceration. ECF 31 (PSR) p.4. The conditions

of probation listed in the PSR do not include the stipulated agreement by the parties that

Mr. Screnock shall not engage in the wildlife trade for the period of any term of

supervised release or probation imposed by the court in this matter.

III.   GOVERNMENT’S RECOMMENDATION

       The United States asks the court to impose the sentence recommended by

Probation, along with the forfeiture of the items seized as described in Attachment A of

the plea agreement; a letter of apology; restitution to the Indian Arts and Crafts Board as

ordered by the court; no less than 100 hours of community service; and a prohibition on

his ability to deal in wildlife products during any term of probation or supervised release

imposed by the court.

       In 1935, the Indian Arts and Crafts Board was established by the Act of August

27, 1935 (49 Stat. 891; 25 U.S.C. Section 305a) for the purposes of promoting the

development of Indian arts and crafts, “improving the economic status of Native
                                         Page 5 of 7            Govt. Sent. Memo.
                                                          United States v. Screnock
         Case 3:19-cr-00038-SLG Document 45 Filed 03/03/21 Page3:19-cr-00038-SLG
                                                                   5 of 7
Americans; establishing and expanding the marketing opportunities for Indian people;

and assisting Indian tribes to develop a framework to support the preservation and

evolution of tribal cultural activities. 1990 U.S.C.C.A.N. 6391, 6392.

       In the over half century between the passage of the original Act and the passage of

IACA in 1990 there were no Federal prosecutions for violation of the 1935 Act. Id. As a

result, states including Alaska passed their own legislation regulating the sale of Indian

art and crafts, which did not result in adequate enforcement nationwide. Federal law, in

the eyes of Congress, “provide[d] no meaningful deterrent to those who misrepresent[ed]

imitation Indian arts and crafts. Id. As a result, the 1990 amendments were introduced in

order to “clarify and simplify the procedures for prosecution and to increase the penalties

for counterfeiting and misrepresentation.” Id.

       Mr. Screnock spent years willfully impersonating Alaska Native artisans to profit

himself and his business, even after multiple warnings from agents of U.S. Fish and

Wildlife Service. The stipulated statement of facts makes it clear that the volume of Mr.

Screnock’s activities was significant; at the time of the execution of the search warrant

Fish and Wildlife agents seized over 450 items produced by Mr. Screnock etched with

the false “Savuk” name and worth over $125,000.

       Mr. Screnock’s fraud actively harmed the communities he falsely purported to

represent as the artisan “Savuk.” Every sale represented a loss to an Alaska Native

artisan competing in the same market for the same customers, and a harm done to small

communities statewide that depend in part on the sale of Alaska Native produced arts and



                                         Page 6 of 7            Govt. Sent. Memo.
                                                          United States v. Screnock
         Case 3:19-cr-00038-SLG Document 45 Filed 03/03/21 Page3:19-cr-00038-SLG
                                                                   6 of 7
crafts. Mr. Screnock purported to support Alaska Native artisans while engaging in these

activities for profit.

IV.     CONCLUSION

        For the reasons stated herein, the United States respectfully asks the Court to

sentence the defendant to a sentence of five years’ probation on count one; one year of

probation on count two, and a composite fine of $2500 in addition to the special

conditions of probation recommended in the PSR as well as an additional condition as

stipulated by the parties prohibiting Mr. Screnock from dealing in any wildlife products

during any term of supervised release or probation imposed by the sentencing court. This

sentence is sufficient, but not greater than necessary, to punish the defendant for his

serious criminal conduct, recognizes his history and characteristics, will protect the

public, deter the defendant and others, and is similar to sentences given to other

defendants.

        RESPECTFULLY SUBMITTED this 3rd day of March, 2021, in Anchorage,

Alaska.

                                                        E. BRYAN WILSON
                                                        Acting United States Attorney

                                                        s/ Adam Alexander
                                                        ADAM ALEXANDER
                                                        Assistant U.S. Attorney

CERTIFICATE OF SERVICE
I hereby certify that on March 3, 2021,
a copy of the foregoing was served electronically on:

Gretchen Staft

s/ Adam Alexander
Office of the U.S. Attorney

                                                    Page 7 of 7   Govt. Sent. Memo.
                                                            United States v. Screnock
           Case 3:19-cr-00038-SLG Document 45 Filed 03/03/21 Page3:19-cr-00038-SLG
                                                                     7 of 7
